
PITTMAN, Judge.
AFFIRMED. NO OPINION.
See Rule 53(a)(1) and (a)(2)(A), Ala. R. App. P.; Adams v. Boan, 559 So.2d 1084, 1088 (Ala. 1990) ; Rickard v. Trousdale, 508 So.2d 260, 261 (Ala. 1987) ; Piel v. Brown, 361 So.2d 90, 93-95 (Ala. 1978) ; and Dunning v. Mayhew, 240 So. 3d 616 (Ala. Civ. App. 2017).
Thompson, P.J., and Thomas and Donaldson, JJ., concur.
Moore, J., dissents, with writing.
